                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                  CHATTANOOGA DIVISION

  BRANDI GOODWIN,                                   )
                                                    )
                 Plaintiff,                         )               1:21-CV-00277-DCLC
                                                    )
         vs.                                        )
                                                    )
  BLUECROSS BLUESHIELD OF                           )
  TENNESSEE,                                        )
                                                    )
                 Defendant.                         )



                                              ORDER


        On May 9, 2022, the Court issued an Order granting Plaintiff 21 days to cure the

 deficiencies in her complaint by filing an amended complaint [Doc. 14].      The Court explained

 that Plaintiff had not sufficiently alleged her claims under the “disability rights act” because she

 did not identify what specific statutory law she was relying upon to state her claims, and because

 she had improperly submitted her disability claims on a form complaint for violation of civil rights

 pursuant to 42 U.S.C. § 1983 [see Doc. 2]. The Court stated that “[a]s currently pleaded, Plaintiff’s

 complaint fails to state a claim for a § 1983 civil rights violation and it is unclear the basis on

 which she is attempting to assert disability claims.” [Doc. 14]. The Court admonished Plaintiff

 that if she did not amend her complaint within the allotted time, her claims would be dismissed.

 The 21 days has passed, and Plaintiff has not filed an amended complaint nor has she

 communicated any intent to do so.

        Accordingly, Plaintiff’s complaint [Doc. 2] is hereby DISMISSED WITH PREJUDICE.

 Defendant’s pending motion to dismiss [Doc. 11] and motion to dismiss for lack of prosecution




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 [Doc. 17] are DENIED as MOOT. A separate judgment will enter.

       SO ORDERED:


                                         s/Clifton L. Corker
                                         United States District Judge




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